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                                   UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
                                       OFFICE OF THE CLERK
                                            AT SEATTLE



RAVI SUBRAMANIAN
CLERK OF COURT
700 STEWART ST.
SEATTLE, WA 98101

August 10, 2022

HARADA V. COMCAST CABLE COMMUNICATIONS LLC ET AL
Case # 2:22−cv−01097−BAT

The court has received your case documents and has identified the following items to be addressed.
Please note: Any underlined points of reference below will contain a link to the source materials.

           Improper Signature − Secondary Attorney(s)
           The secondary attorney(s) Thomas P Reilly indicated in your document(s) is/are not properly
           before this Court and has/have been removed from the docket. Please file a Notice of
           Appearance for attorney(s) Thomas P Reilly as soon as practicable by going to Notices and
           selecting Notice of Appearance. See Federal Rule of Civil Procedure 11 and Local Civil
           Rule 83.2 or Section III(L) of the Electronic Filing Procedures.

           Attorney Admission
           Counsel Thomas P Reilly is/are not admitted to practice in the US District Court, Western
           District of Washington. Counsel must submit a Petition for Admission. After you have been
           admitted to practice before this Court, please promptly file a Notice of Appearance in this
           case pursuant to LCR 83.2. Questions about this process should be directed to the Attorney
           Admission Clerk at 206−370−8439 or WAWD_Admissions@wawd.uscourts.gov.

           Additional Notes: Thomas P Reilly signed a Consent to Removal included in your filing;
           however it is unclear if he appeared in state court or wishes to appear in this court. He must
           apply for Admission and file a Notice of Appearance if he does wish to appear.


Please call the Attorney Case Opening Helpdesk at 206−370−8787 if you have any additional questions.

Thank you.

cc: file
